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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF ARKANSAS
                           DELTA DIVISION

CHAD RAY DOUGLAS                                                            PLAINTIFF
#133993

v.                        CASE NO. 2:22-CV-00097-BSM

TERREL MASSEY                                                           DEFENDANTS

                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed without prejudice.

     IT IS SO ORDERED this 8th day of July, 2022.


                                                 ________________________________
                                                 UNITED STATES DISTRICT JUDGE
